



 





THIS OPINION HAS NO PRECEDENTIAL VALUE.&nbsp; IT SHOULD NOT BE CITED OR
  RELIED ON AS PRECEDENT IN ANY PROCEEDING EXCEPT AS PROVIDED BY RULE 268(d)(2),
  SCACR.
THE STATE OF SOUTH CAROLINA
In The Court of Appeals

  
    
      
        
          The State, Respondent,
          
        
      
    
  

v.

  
    
      
        
          Gregory Hemingway-Cox, Appellant.
          
        
      
    
  


Appeal From Horry County
  Thomas W. Cooper, Jr., Circuit Court
Judge

Unpublished Opinion No.&nbsp; 2010-UP-557&nbsp; 
  Submitted December 1, 2010  Filed
December 23, 2010

AFFIRMED


  
    
      
        Appellate Defender M. Celia Robinson, of
          Columbia, for Appellant.
        Attorney General Henry Dargan McMaster, Chief
          Deputy Attorney General John W. McIntosh, Assistant Deputy Attorney General
          Salley W. Elliott, and Assistant Attorney General Christina J. Catoe, all of Columbia;
          and Solicitor J. Gregory Hembree, of Conway, for Respondent.
      
    
  

PER CURIAM: &nbsp;Gregory
  Hemingway-Cox appeals his convictions for first-degree burglary, kidnapping,
  assault and battery of a high and aggravated nature, and possession of a weapon
  during the commission of a violent crime, arguing the circuit court erroneously
  (1) admitted identification testimony influenced by an unduly suggestive
  confrontation procedure and (2) relied on the victim's unreliable
  identification in denying his motions for directed verdicts.&nbsp; We affirm[1] pursuant to Rule 220(b)(1), SCACR, and the following authorities:
1.&nbsp; As to whether the circuit court erred
  in finding the identification procedure based on third party information was
  not unduly suggestive and admitting the identification testimony: State v.
    Moore, 343 S.C. 282, 287, 540 S.E.2d 445, 447 (2000) (holding a court must
  first ascertain whether a confrontation procedure was unduly suggestive when
  determining whether an in-court identification violates due process); State
    v. Tisdale, 338 S.C. 607, 611-12, 527 S.E.2d 389, 392 (Ct. App. 2000)
  (holding suggestiveness arising from nongovernmental sources does not violate
  due process).
2. As to whether the
  circuit court erred in denying Hemingway-Cox's motion for directed verdicts: State v. Adams,
  332 S.C. 139, 144-45, 504 S.E.2d 124, 126-27 (Ct. App. 1998) (holding if a defendant presents evidence after the denial
  of his motion for a directed verdict at the close of the States case, in order to preserve the
  issue for appeal, he must make another motion for a
  directed verdict at the close of all evidence).&nbsp; Alternatively, we affirm on the merits: State v. Parler,
  217 S.C. 24, 26, 59 S.E.2d 489, 489 (1950) (noting that a motion for directed
  verdict should have been made by the appellant at the close of all evidence,
  but waiving the appellant's failure to do so and considering the issue on its
  merits because the conviction and sentence involved the liberty of the
  appellant).
AFFIRMED.
THOMAS,
  PIEPER, and GEATHERS, JJ., concur.


[1] We decide this case without oral argument pursuant to
  Rule 215, SCACR.

